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    TRut~NCS 35201066 - ROBINSON, GREGORY - Unit: CUM-G-A                                            PWse-~~\tl
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    FROM: 35201066
    TO: Robinson, Marcine
    SUBJECT: Judge Diamond Letter Request
    DATE: 06/23/2019 05:12:33 PM

    To Judge Diamond's Assistant;

    Good day.

        My name is Gregory Robinson #35201-066. I was a defendant in Judge Diamonds court. I was sentenced on April 2nd of
    this year 2019. My attorney Mr. Paul Hecknetzer submitted three letters to the Judge that I need copies of. Two letters I
    received from FDC Philadelphia. One was from Ms. Lindy the Education Supervisor and the other from the Chaplin. The third
    letter was from my Pastor Joseph Roberts Jr. informing the court that I had a job upon my release.

-     • 1 have,not be-able to receive a copy of those letters from my attorney as he submitted the· originals to the court. I am now
    station at the Federal Prison Camp in FCI Cumberland, Md., and if possible I would like to get a copy of those letters send to
    my case worker Mrs. Shobe so that she can put them in my central file.

        I have no doubt that you have a million and one things to do. But I would greatly appreciate if you could please send a copy
    of those letters at your earliest convenience to Ms. Shobe at the following address;

    Mrs. Shobe
    14601 Burbridge Rd
    Cumberland, MD. 21502

                                                                                 May God continue to bless you and keep you in




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    PS. I have included (2) US Postal Stamps. Thank you once again.
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